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                      IN THE UNITED STATES DISTRICT COURT                                     m
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION                                -1




UNITED STATES OF AMERICA,                      §
                                               §

              Plaintiff,
                                                       CAUSE NO. EP-15-CR-1380-DB(2)
                                               §
V.                                             §
                                               §

ODET MADRID,                                   §

                                               §
              Defendant.                       §


                            ORDER REVOKING BOND
                     AND FOR ISSUANCE OF ARREST WARRANT

       On this date came on to be considered the Government's Motion to Revoke bond and for

Issuance of Arrest Warrant in the above-entitled and numbered cause, and the Court, having

considered same, is of the opinion that said Motion should be granted.

       It is therefore ORDERED that Defendant's bond in the amount of $10,000.00, secured by

the signature and assets of Defendant, and executed on August 26, 2015, be and it is hereby

REVOKED and that a warrant be issued for the arrest of the Defendant.

       SIGNED AND ENTERED this                day of              ,   2016.




                                             DA&
                                             SENIOITED           STATES DISTRICT JUDGE
